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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO


THE UNITED STATES OF AMERICA
Plaintiff,

           vs.                                            CASE NO. 22-00138-016 (PAD)

Edian Palermo-Barea
Defendant
**********************************************

            MOTION NOTIFYING VIOLATIONS OF CONDITIONS OF RELEASE

TO THE HONORABLE PEDRO A. DELGADO
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

        COMES NOW, FRANKLIN CASTILLO-FERNANDEZ, U.S. PROBATION OFFICER

of this Honorable Court, providing the following information:

            1. On April 11, 2022, the Honorable Marshall D. Morgan, U.S. Magistrate-Judge,

                 signed the defendant’s Order Setting Conditions of Release on an $10,000.00

                 unsecured bond, substance abuse testing among other conditions of release.

            2. On May 26, 2022, during a routine visit to the defendant`s residence, he

                 admitted that he had used Cannabis two weeks prior to the USPO visit. The

                 defendant was reprimanded for this matter, and he was advised that he will be

                 continuously tested. He was reminded of the potential outcomes of non-

                 compliance.

            3. On June 22, 2022, during another routine visit to the defendant`s residence,

                 the defendant provided a urine sample for testing, and he denied the use of

                 any substances after his cannabis use nearly six weeks ago. The sample

                 tested positive to Cannabinoids yet again. When confronted that defendant
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                 admitted to using cannabis two weeks prior to the June 22 visit. He was

                 informed that the Court would be informed of his non-compliance and that he

                 is to seek substance abuse treatment at a community-based treatment

                 provider.

          4. On July 13, 2022 another urine sample was collected for testing, the same is

                 yet to be tested and should it yield a positive result the Court will be informed.

       (7)(m) – “The defendant must not use or unlawfully possess a narcotic drug or

other substances defined in 21 U.S.C § 802, unless prescribed by a licensed medical

practitioner.”

       WHEREFORE, in view of the aforementioned, it is respectfully requested that the

Court take notice of the contents of this motion and allow the defendant to continue on bond

and seek substance abuse treatment at a community-based treatment provider.

       In San Juan, Puerto Rico, this 14th day of July 2022.

                                                      Respectfully submitted,

                                                      LUIS O. ENCARNACION, CHIEF
                                                      U.S. PROBATION OFFICER

                                                     s/Franklin Castillo-Fernández
                                                     Franklin Castillo-Fernández
                                                     U.S. Probation Officer
                                                     150 Carlos Chardón Ave.
                                                     Federal Office Building, Office 225
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                                                     Tel. No. (787) 766-5596
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                                    CERTIFICATE OF SERVICE

        I HEREBY certify that I electronically filed the foregoing motion with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the parties in this

case.

        In San Juan, Puerto Rico, this 14th day of July 2022.

                                                   s/ Franklin Castillo-Fernández
                                                   Franklin Castillo-Fernández
                                                   U.S. Probation Officer
